On October 18, 1995, appellant, Willie J. Pearson, pleaded guilty to two counts of gross sexual imposition, in violation of R.C. 2907.05, felonies of the third degree. In a judgment entry dated November 17, 1995, the Lake County Court of Common Pleas sentenced appellant to a definite term of two years of incarceration on each count, the sentences to run consecutively to each other.
After a hearing conducted pursuant to R.C. 2950.09, the trial court adjudicated appellant as a sexual predator on July 15, 1998. Appellant filed a timely notice of appeal, asserting that Ohio's version of Megan's Law, recently amended R.C. Chapter 2950, is unconstitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section 1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
Accordingly, the judgment of the trial court is reversed, and the case is hereby remanded for proceedings consistent with this opinion.
                              ______________________________ PRESIDING JUDGE DONALD R. FORD
NADER, J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.